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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

    Yusef Lateef Phillips                )
                                         )
                      Plaintiff,         )
                                         )   19-cv-331
                   -vs-                  )
                                         )   (Judge Hala Y. Jarbou)
    Andrew Hinds,                        )   (Magistrate Judge Sally J. Berens)
                                         )
                      Defendant.         )

              AMENDED MOTION PURSUANT TO RULE 56(e)(1)
         Pursuant to Rule 56(e)(1) of the Federal Rules of Civil Procedure,

   plaintiff, by counsel, moves the Court for leave to file the attached signed

   declaration from Ray Lee and to withdraw plaintiff’s previous motion (ECF

   No. 117) that sought 28 days to file the signed declaration from Mr. Lee.

         Grounds for this motion are as follows:

         1.     Plaintiff’s brother, Ray Lee, witnessed the police shooting that

   gives rise to this case. Lee is presently a federal prisoner, 21788-040, at FMC

   Devens in Ayer, Massachusetts.

         2.     The parties sought to depose Mr. Lee before the close of

   discovery. In September of 2020, the Warden agreed that a deposition could

   go forward at the prison. (ECF No. 112-3 PageID 1205.) The prison,

   however, was unable to accommodate a telephonic deposition. (ECF No.

   112-4, PageID 1209 Plaintiff’s counsel was unwilling to travel from Illinois
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   to Massachusetts to visit the prison during the COVID-19 pandemic. (ECF

   No. 112-5, PageID 1214.) Lawyers who visited federal prisons during the

   pandemic were not immune from the virus: each of the two lawyers who

   visited death row inmate Lisa Montgomery, contracted COVID-19 after

   visiting her in October and November of 2020. Montgomery v. Barr, No. CV

   20-3261 (RDM), 2020 WL 6799140, at *2 (D.D.C. Nov. 19, 2020). In addition,

   the Centers for Disease Control has consistently advised that travel

   “increases your chance of spreading and getting COVID-19.” CDC, Travel

   During COVID-19, available at https://www.cdc.gov/coronavirus/2019-

   ncov/travelers/travel-during-covid19.html.

         3.     Officers from the Grand Rapids Police Department questioned

   Lee after the shooting and recorded the interrogation. Plaintiff relies on

   statements Lee made during the interrogation to respond to defendant’s

   motion for summary judgment.

         4.     Defendant opposes use of Lee’s statement because it is not

   presented in the form of an affidavit or a declaration.

         5.     The Sixth Circuit discussed in Bolson Materials Int’l Corp. v.

   3D Systems Corp., 746 F. App’x 445 (6th Cir. 2018) the appropriate

   procedure when, on summary judgment, a party objects to exhibits as

   hearsay. The question presented is whether the evidence could “be




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   presented in a form that would be admissible in evidence.” Id. at 450 n.2

   (quoting FED. R. CIV. P. 56(c)(2).) When, as in this case, a timely objection

   is made, the proponent of the challenged materials could, and plaintiff

   argues should, be “afforded the opportunity to address the objections and

   proffer proper evidence.” Id. (quoting FED. R. CIV. P. 56(e)(1).)

         6.     Following receipt of defendant’s motion to strike, plaintiff’s

   counsel mailed to Mr. Lee a proposed declaration to resolve the evidentiary

   objections. Mr. Lee signed the declaration and returned it to counsel by

   United States. Counsel received the signed declaration on March 26, 2021

   and attaches it to this motion.

         WHEREFORE plaintiff requests that the Court grant him leave to

   file the attached signed declaration from Ray Lee and to withdraw

   plaintiff’s previous motion (ECF No. 117) that sought 28 days to file the

   signed declaration from Mr. Lee.

                                         Respectfully submitted,

                                      /s/ Kenneth N. Flaxman
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